Case 1:19-cv-00080-AJT-IDD Document 1 Filed 01/23/19 Page 1 of 6 PagelD# 1

FILE

Pro Se 7 (Rev. 12/16) Complaint for Employment Discrimination

UNITED STATES DISTRICT COURT mig 03 Fe 37

for the

Eastern District of Virginia

Alexandria Division

Case No. [:/4 ov §0 Att/ ap

. (to be fitted in by the Clerk's Office)
Kristy Frye
Plaintiff)
(Write the full name of each plaintiff who ts filing this complaint.
if the names of all the plaintiffs cannot fit in the space above,
please write “sce attached" in the space and attach an additional
page with the full list of names.)
-¥y-

 

Jury Trial: (checkone) & Yes O No

American College of Radiology

Defendant(s)
(Write the full name of each defendant who is being sued. If the
names of all the defendants cannot fit in the space above, please
write “see attached” in the space and attach an additional page
with the full list of names.)

 

Nemec Nee Nee Neer ee ee eee Nee Nee Nene See Smee Stree” See” Seer”

COMPLAINT FOR EMPLOYMENT DISCRIMINATION

1. The Parties to This Complaint
A. The Plaintiff(s)

Provide the information below for each plaintiff named in the complaint. Attach additional pages if

 

 

 

 

 

needed.
Name Kristy Frye
Street Address 645 Meadowbrook Drive
City and County Culpeper/Culpeper County
State and Zip Code VA, 22701
Telephone Number 540-394-0401
E-mail Address kfrye434@gmail.com

 

Page of 6
Case 1:19-cv-00080-AJT-IDD Document 1 Filed 01/23/19 Page 2 of 6 PagelD# 2

B. The Defendant(s)

Provide the information below for each defendant named in the complaint, whether the defendant is an
individual, a government agency, an organization, or a corporation. For an individual defendant,
include the person’s job or title (known). Attach additional pages if needed.

Defendant No. 1
Name
Job or Title (fknown)
Street Address
City and County
State and Zip Code
Telephone Number
E-mail Address (if known)

Defendant No. 2
Name
Job or Title (@f known)
Street Address
City and County
State and Zip Code
Telephone Number
E-mail Address (if known)

Defendant No. 3
Name
Job or Title (if known)
Street Address
City and County
State and Zip Code
Telephone Number

E-mail Address (if known)

Defendant No. 4
Name
Job or Title (if known)
Street Address

Page of 6

American College of Radiology

 

 

1891 Preston White Drive

 

Reston/Fairfax County

 

VA, 20191

 

703-648-8900

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 
Il.

Page of 6

Case 1:19-cv-00080-AJT-IDD Document 1 Filed 01/23/19 Page 3 of 6 PagelD# 3

City and County

 

State and Zip Code

 

Telephone Number

 

E-mail Address Gf known)

 

Place of Employment

The address at which I sought employment or was employed by the defendant(s) is

Name

 

Street Address

 

City and County

 

State and Zip Code

 

Telephone Number

 

Basis for Jurisdiction

This action is brought for discrimination in employment pursuant to (check all that apply):

O

Title VII of the Civil Rights Act of 1964, as codified, 42 U.S.C. §§ 2000e to 2000e-17 (race,

color, gender, religion, national origin).

(Note: In order to bring suit in federal district court under Title VI, you must first obtain a
Notice of Right to Sue letter from the Equal Employment Opportunity Commission.)

Age Discrimination in Employment Act of 1967, as codified, 29 U.S.C. §§ 621 to 634.

(Note: In order to bring suit in federal district court under the Age Discrimination in
Employment Act, you must first file a charge with the Equal Employment Opportunity
Commission.)

Americans with Disabilities Act of 1990, as codified, 42 U.S.C. §§ 12112 to 12117.

(Note: In order to bring suit in federal district court under the Americans with Disabilities
Act, you must first obtain a Notice of Right to Sue letter from the Equal Employment
Opportunity Commission.)

Other federal law (specify the federal faw):

 

Relevant state law (specify, if known):

 

Relevant city or county law (specify, if known):
iil.

B.

Cc.

D.

Page of 6

Case 1:19-cv-00080-AJT-IDD Document1 Filed 01/23/19 Page 4 of 6 PagelD# 4

Statement of Claim

 

Write a short and plain statement of the claim. Do not make legal arguments. State as briefly as possible the
facts showing that each plaintiff is entitled to the damages or other relief sought. State how each defendant was
involved and what each defendant did that caused the plaintiff harm or violated the plaintiff's rights, including
the dates and places of that involvement or conduct. If more than one claim is asserted, number each claim and
write a short and plain statement of each claim in a separate paragraph. Attach additional pages if needed.

A. The discriminatory conduct of which I complain in this action includes (check alf that apply):

Oo WB BOBO

Failure to hire me.

Termination of my employment.

Failure to promote me.

Failure to accommodate my disability.

Unequal terms and conditions of my employment.
Retaliation.

Other acts (specify):

 

(Note: Only those grounds raised in the charge filed with the Equal Employment
Opportunity Commission can be considered by the federal district court under the
federal employment discrimination statutes.)

It is my best recollection that the alleged discriminatory acts occurred on date(s)

 

O

O

OoOgogda ao

&

I believe that defendant(s) (check one):

is/are still committing these acts against me.

is/are not still committing these acts against me.

Defendant(s) discriminated against me based on my (check all that apply and explain):

race

 

color

 

gender/sex

 

religion

 

national origin

 

age (year of birth) (only when asserting a claim of age discrimination.)
disability or perceived disability (specify disabifity)

Anxiety and Depression

 
IV.

Case 1:19-cv-00080-AJT-IDD Document 1 Filed 01/23/19 Page 5 of 6 PagelD# 5

The facts of my case are as follows. Attach additional pages if needed.
Attached

 

(Note: As additional support for the facts of your claim, you may attach to this complaint a copy of
your charge filed with the Equal Employment Opportunity Commission, or the charge filed with the
relevant state or city human rights division.)

Exhaustion of Federal Administrative Remedies
A. It is my best recollection that I filed a charge with the Equal Employment Opportunity Commission or

my Equal Employment Opportunity counselor regarding the defendant's alleged discriminatory conduct
on (daic)

January 2, 2014

 

B. The Equal Employment Opportunity Commission (check one):
oO has not issued a Notice of Right to Sue letter.
issued a Notice of Right to Sue letter, which I received on (date) October 26, 2018 .

(Note: Attach a copy of the Notice of Right to Sue letter from the Equal Employment
Opportunity Commission to this complaint.)

C. Only litigants alleging age discrimination must answer this question.

Since filing my charge of age discrimination with the Equal Employment Opportunity Commission
regarding the defendant's alleged discriminatory conduct (check ane):

oO 60 days or more have elapsed.

o less than 60 days have elapsed.

Relief

State briefly and precisely what damages or other relief the plaintiff asks the court to order. Do not make legal
arguments. Include any basis for claiming that the wrongs alleged are continuing at the present time. Include the
amounts of any actual damages claimed for the acts alleged and the basis for these amounts. Include any punitive
or exemplary damages claimed, the amounts, and the reasons you claim you are entitled to actual or punitive
money damages.

Beck pey, Lreat eed / Jess Sone bls canyons obey damages, athen ey FEOOS

 

Page of 6
Case 1:19-cv-00080-AJT-IDD Document 1 Filed 01/23/19 Page 6 of 6 PagelD# 6

VI. Certification and Closing

Under Federal Rule of Civil Procedure 11, by signing below, I certify to the best of my knowledge, information,
and belief that this complaint: (1) is not being presented for an improper purpose, such as to harass, cause
unnecessary delay, or needlessly increase the cost of litigation; (2) is supported by existing law or bya
nonfrivolous argument for extending, modifying, or reversing existing law; (3) the factual contentions have
evidentiary support or, if specifically so identified, will likely have evidentiary support after a reasonable
opportunity for further investigation or discovery; and (4) the complaint otherwise complies with the
requirements of Rule 11.

A. For Parties Without an Attorney

| agree to provide the Clerk’s Office with any changes to my address where case-related papers may be
served. 1 understand that my failure to keep a current address on file with the Clerk’s Office may result
in the dismissal of my case.

 

 

Date of signing: Junu Ral 7
Signature of Plaintiff :
Printed Name of Plaintiff Kor! she Leue
i. /
B. For Attorneys
Date of signing:

 

Signature of Attorney

 

Printed Name of Attorney

 

Bar Number

 

Name of Law Firm
Street Address
State and Zip Code

 

 

 

Telephone Number
E-mail Address

 

 

Page of 6
